                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


 UNITED STATES OF AMERICA,                       )
                                                 )
                       Plaintiff,                )
                                                 )
 v.                                              )          No. 3:07-CR-89
                                                 )          (PHILLIPS/GUYTON)
 JULIA C. NEWMAN,                                )
                                                 )
                       Defendant.                )
                                                 )


                                MEMORANDUM AND ORDER

               This case comes before the Court on the following pending motions: Motion of

 Attorney David S. Wigler to Withdraw [Doc. 88], Attorney Brent Austin’s Motion to Withdraw as

 Counsel with Consent of Defendant Newman Pursuant to EDTN LR 83.4(f) [Doc. 89], Renewed

 Motion to Withdraw [Doc. 106], Supplemental Motion to Withdraw as Attorney by Jeffrey Brent

 Austin [Doc. 107], and United States’ Renewed Request for Joinder and Joint Trial as to Defendant

 Newman [Doc. 111], which were referred [Doc. 112] to the undersigned on November 19, 2008.

 See 28 U.S.C. § 636(b). The parties appeared for a hearing on these motions on December 1, 2008.

 Assistant United States Attorney Hugh B. Ward, Jr., represented the government. Attorney J. Brent

 Austin appeared on behalf of the defendant, who was also present. Attorney David S. Wigler was

 present in the courtroom.

               The Court initially took up Attorneys Austin’s and Wigler’s motions [Docs. 88, 89,

 106, and 107] to withdraw from the representation of the defendant. The defendant was originally

 represented by retained Attorney Herbert S. Moncier along with Attorneys Austin and Wigler. On

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 April 29, 2008, Chief United States District Judge Curtis Collier ordered that Attorney Moncier be

 suspended from the practice of law in the United States District Court for the Eastern District of

 Tennessee [case no. 1:08-MC-09, Doc. 69]. This Court subsequently found [Doc. 79] that it did not

 have “jurisdiction or authority to alter or amend, clarify, interpret, or stay Judge Collier’s Order”

 with regard to Attorney Moncier’s request to continue representing Defendant Newman through the

 completion of this case. The defendant appealed [Doc. 80] this ruling to the District Court. The

 Court also severed [Doc. 84] the defendant’s trial from that of her codefendants so that she could

 proceed to trial on May 20, 2008. District Judge Phillips denied [Doc. 86] the defendant’s appeal

 of this Court’s order regarding her continued representation by Attorney Moncier. Judge Phillips

 noted that the defendant continued to be represented by Attorneys Austin and Wigler, who were also

 chosen by the defendant to represent her in this case.

                On May 14, 2008, Attorneys Wigler and Austin filed motions [Docs. 88 and 89] to

 withdraw from their representation of the defendant. In his motion [Doc. 88], Attorney Wigler

 contends that as a salaried employee of Attorney Moncier, Judge Collier’s April 29 Order prohibits

 him from representing the defendant or any other person in the United States District Court for the

 Eastern District of Tennessee. Attorney Wigler attached to his motion a hand-written document by

 the defendant giving her consent to Attorney Wigler’s withdrawal. Attorney Austin moves to

 withdraw [Doc. 89], also with the defendant’s consent, contending that the defendant retained him

 only to perform support functions, such as communicating with the defendant due to Mr. Moncier’s

 heavy trial schedule, advising her on collateral matters, and assisting Mr. Moncier. He maintains

 that he does not have sufficient knowledge of the case to replace Mr. Moncier as the defendant’s

 trial counsel. On May 16, 2008, District Judge Phillips conducted a status conference, took the


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 motions to withdraw under advisement, and continued the defendant’s trial to June 30, 2008,

 advising the defendant to retain counsel on or before this date [Doc. 90]. On May 27, 2008, the

 defendant filed a Notice of Appeal In Forma Pauperis [Doc. 93], stating that she had appealed to the

 Sixth Circuit the District Court’s Order denying her objections to this Court’s ruling regarding

 Attorney Moncier’s continued representation of her through the conclusion of this case. On June

 9, 2008, the undersigned stayed [Doc. 95] the proceedings in the present case pending the

 defendant’s appeal. The Court noted the government had filed a Motion for Joinder and Renewed

 Request for Joint Trial [Doc. 92] and stated that the Court would proceed on the merits of this

 motion after the disposition of the defendant’s appeal. On August 26, 2008, Attorney Wigler filed

 a Renewed Motion to Withdraw [Doc. 106], stating that he has concluded that he can not ethically

 represent the defendant due to Judge Collier’s order suspending his employer Attorney Moncier.

 On September 16, 2008, Attorney Austin filed a Supplemental Motion to Withdraw as Attorney

 [Doc. 107], asserting that while he was comfortable with his ability to act as a liason between the

 defendant and Attorney Moncier, he believes that he does not have the legal ability and familiarity

 with the case to represent her in Mr. Moncier’s absence.

                On October 30, 2008, the Sixth Circuit dismissed [Doc. 110] the defendant’s appeal,

 holding that “[a]n order disqualifying an attorney to represent a defendant in a criminal case is not

 immediately appealable.” The cover letter that accompanies the order reveals that it was mailed to

 the defendant’s former attorney Mr. Moncier as well as to Mr. Austin and AUSA Ward. The Sixth

 Circuit’s order was filed in the docket in this case also on October 30, 2008. This action released

 the stay of the proceedings in this case, and on November 19, 2008, the District Court referred [Doc.

 112] the above listed motions to the undersigned.


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                The Court finds the motions to withdraw [Docs. 88, 89, 106, and 107] to be well-

 taken and they are GRANTED. At the December 1 hearing, the Court found that the defendant

 qualified for appointed counsel based upon the defendant’s financial status indicated in her

 Application to Proceed In Forma Pauperis with Supporting Documentation [Doc. 108]. The

 defendant objected to the Court’s appointment of an attorney for her, stating that she wanted to be

 represented by Mr. Moncier. The Court advised the defendant that the Sixth Circuit had dismissed

 her appeal of Attorney Moncier’s disqualification, that her case was going forward, and that she

 could either be represented by another attorney or she could represent herself. The Court permitted

 the defendant to consult with Attorney Kelly Johnson, a CJA panel attorney who was present to

 accept representation of the defendant should she seek an appointed attorney. Following this

 consultation, the defendant continued to object to a court-appointed attorney.

                The Supreme Court has held that a criminal defendant may proceed pro se if his or

 her decision to do so is voluntary and intelligent. Faretta v. California, 422 U.S. 806, 835 (1975)

 (citing Johnson v. Zerbst, 304 U.S. 458, 464-65 (1938)). A defendant may not avoid making the

 choice between representation by counsel and self-representation in order to delay the trial. See

 United States v. Clemons, No. 97-6267, 1999 WL 196568, *5 (6th Cir. Mar. 30, 1999). “A

 defendant’s refusal to accept one of those options does not create a safe haven from criminal

 proceedings.” Id. Instead, after advising the defendant of the potential pitfalls of representing him

 or herself, the Court may treat a subsequent refusal of counsel as the “functional equivalent” of a

 valid waiver of the Sixth Amendment right to counsel. Id. In the present case, the Court had the

 defendant sworn and reviewed with her a list of questions designed to explain the obligations and

 difficulties of pro se representation, as approved by the Sixth Circuit in United States v. McDowell,


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 814 F.2d 245, 251-52 (6th Cir. 1987). Based upon the defendant’s answers to those questions, the

 Court found that the defendant knowingly and voluntarily waived her right to counsel and should

 be permitted to represent herself.

                 The Court next considered the appointment of standby or elbow counsel for the

 defendant. The appointment of standby counsel, even over a pro se defendant’s objection, does not

 violate the defendant’s right to represent him or herself. McKaskle v. Wiggins, 465 U.S. 168, 183

 (1984); Faretta, 422 U.S. at 834 n.36 (noting that the “State may–even over objection by the

 accused–appoint a ‘standby counsel’ to aid the accused if and when the accused requests help, and

 to be available to represent the accused in the event that termination of the defendant’s

 self-representation is necessary”). Although the exact role of standby counsel is largely undefined,

 the Supreme Court has placed two limitations on that role: “First, the pro se defendant is entitled

 to preserve actual control over the case he chooses to present to the jury. . . . . Second, participation

 by standby counsel without the defendant’s consent should not be allowed to destroy the jury’s

 perception that the defendant is representing himself.” Wiggins, 465 U.S. at 178. The Court also

 observed that the defendant’s right to represent himself is

                 not infringed when standby counsel assists the pro se defendant in
                 overcoming routine procedural or evidentiary obstacles to the
                 completion of some specific task, such as introducing evidence or
                 objecting to testimony, that the defendant has clearly shown he
                 wishes to complete. Nor are they infringed when counsel merely
                 helps to ensure the defendant’s compliance with basic rules of
                 courtroom protocol and procedure.

 Id. at 183. The Court noted that the appointment of standby counsel can “relieve the [trial] judge

 of the need to explain and enforce basic rules of courtroom protocol.” Id. at 184.

                 With these principles in mind, the Court appointed Attorney Kelly Johnson as


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 standby counsel for the defendant pursuant to the Civil Justice Act. To the extent possible, Attorney

 Johnson shall relieve the presiding judge of the need to explain and enforce basic rules of courtroom

 protocol, procedure, and decorum during the trial. He should help the defendant in overcoming

 routine procedural or evidentiary obstacles to completing a specific task, like the introduction of

 evidence or the objection to testimony, that the defendant herself has clearly indicated that she wants

 to complete. Mr. Johnson may also, upon the defendant’s request, aid her by means of technical

 assistance in the presentation of her defense and the preservation of the record for appeal. Finally,

 the trial court may ask Mr. Johnson to represent the defendant should she decide that she no longer

 wants to represent herself or if the termination of self-representation becomes necessary, such as if

 the defendant must be removed from the courtroom for disruptive behavior.

                The Court next addressed the United States’ Renewed Request for Joinder and Joint

 Trial as to Defendant Newman [Doc. 111]. As noted above, after the Court severed the defendant

 from her codefendant’s for trial, the government filed a Motion for Joinder and Renewed Request

 for Joint Trial [Doc. 92], asking that the defendant be rejoined with coconspirators Gray Jordan,

 William Jordan, Melvin Skinner, and Samuel Skinner and also be joined with Defendant Scott

 Willyard. The District Court referred [Doc. 94] this motion to the undersigned, who stayed [Doc.

 95] the resolution of the motion pending the defendant’s appeal of Attorney Moncier’s

 disqualification. Following the Sixth Circuit’s dismissal of the defendant’s appeal, the Government

 filed its renewed joinder motion [Doc. 111], asserting that the longstanding assumption that

 codefendants should be tried together is even more true when the charge is conspiracy. At the

 December 1 hearing, the defendant hesitantly objected to the joinder motion, stating that she needed

 additional time to review the motion. The government argued that the defendant was properly


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 joined to the codefendants because she had personal knowledge of as well as dealings with all of

 them.

                The Court found the government’s motions for joinder [Docs. 92 and 111] to be well-

 taken and they are GRANTED. The defendant stands indicted [Doc. 3] with Defendants Gray and

 William Jordan and Melvin and Samuel Skinner. The Court has already considered and rejected

 [Doc. 65] the defendant’s request to be severed for trial from the Skinners. The reasons set forth in

 that order apply equally at this juncture in the proceedings. The Court has already declined [Doc.

 102] to join Defendant Willyard for trial with the Jordan defendants. The Court finds no reason that

 these rulings do not continue to apply to Defendant Newman. Finally, the Court’s reason for

 severing the defendant from the trial of her codefendants was to preserve her right to a speedy trial.

 The trial of the codefendants is set for January 20, 2009, before District Judge Phillips. The Court

 finds that a separate trial of Defendant Newman could not be accomplished any earlier than the

 January 20 trial date. Accordingly, Defendant Newman is joined for trial with the remaining

 codefendants in case number 3:07-CR-89 on January 20, 2009.

                The Court had previously ruled [Doc. 95] that all time between the filing of the

 defendant’s pro se Notice of Appeal and the new trial date, which would be determined upon the

 resolution of her appeal, was fully excludable from the operation of the Speedy Trial Act. 18 U.S.C.

 § 3161(h)(1)(E) (excluding delay resulting from an interlocutory appeal). The Court also finds that

 all of the time between the October 30, 2008 order of the Sixth Circuit dismissing the defendant’s

 appeal through the January 20, 2009 trial date is fully excludable under the Speedy Trial Act

 because of the pending motions, the need to resolve the issue of the defendant’s representation, and

 to give the defendant time to prepare to represent herself at trial. 18 U.S.C. § 3161(h)(1) (F) and


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 (8)(A)-(B). In this regard, the Court finds that the ends of justice served by the continuance of the

 defendant’s trial date to January 20, 2009, outweigh the best interest of the defendant and the public

 to a speedy trial. 18 U.S.C. § 3161(h)(1)(8)(A). To require the defendant to go to trial before the

 issue of her representation was resolved would amount to a miscarriage of justice. 18 U.S.C. §

 3161(h)(1)(8)(B)(i). Moreover, a continuance of the trial until January 20, 2009, is necessary to

 provide the defendant with the reasonable time necessary for effective trial preparation, even taking

 into account due diligence. 18 U.S.C. § 3161(h)(1)(8)(B)(iv).

                With regard to additional scheduling, the Court notes that Attorney Johnson

 expressed concern about his ability to review the voluminous discovery prior to the January 20, 2009

 trial date. Although Attorney Johnson’s limited role as standby counsel, as outlined herein above,

 would not include the same trial preparation as if he were defendant’s counsel, the Court

 nevertheless granted Attorney Johnson leave to file a motion to continue the trial and or a motion

 for severance of the defendant if he believed either were necessary following his examination of the

 case file. These motions must be filed on or before December 15, 2008. The Court also noted that

 the United States’ Motion for Reciprocal Discovery [Doc. 83], filed on May 12, 2008, remains

 pending. Counsel for the government stated that it was still seeking reciprocal discovery from the

 defendant. The motion for reciprocal discovery [Doc. 83] is GRANTED, and the Court orders the

 defendant to provide any reciprocal discovery by the date of the pretrial conference, January 13,

 2009. The parties are ordered to appear before the undersigned for a final pretrial conference on

 January 13, 2009, at 9:30 a.m.

                Accordingly, it is ordered:

                (1) Attorney Austin and Wigler’s motions [Docs. 88, 89, 106, and
                107] to withdraw from representation of the defendant are

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            GRANTED;

            (2) The defendant, having knowingly and voluntarily waived her
            Sixth Amendment right to counsel, is permitted to represent herself;

            (3) Attorney Kelly Johnson is appointed pursuant to the Civil Justice
            Act as standby counsel for the defendant. The responsibilities and
            limitations of this position are set forth above;

            (4) The government’s motions for joinder [Docs. 92 and 111] are
            GRANTED. Defendant Newman is joined for trial with the
            remaining codefendants in case number 3:07-CR-89 on January 20,
            2009, at 9:00 a.m. before District Court Judge Thomas W. Phillips;

            (5) All time between the October 30, 2008 order of the Sixth Circuit
            dismissing the defendant’s appeal through the January 20, 2009 trial
            date is fully excludable under the Speedy Trial Act for the reasons set
            forth herein;

            (6) Standby counsel for the defendant has until December 15, 2008,
            to file a motion to continue the trial and/or a motion to sever the
            defendant;

            (7) The United States’ Motion for Reciprocal Discovery [Doc. 83] is
            GRANTED. The defendant is ORDERED to provide any reciprocal
            discovery to the government by January 13, 2009; and

            (8) The parties are ordered to appear before the undersigned for a
            final pretrial conference on January 13, 2009, at 9:30 a.m.

            IT IS SO ORDERED.

                                                   ENTER:


                                                        s/ H. Bruce Guyton
                                                   United States Magistrate Judge




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